         Case 1:21-cr-00237-RDM Document 135 Filed 10/26/22 Page 1 of 2




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                       IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA,                          Case No. 1:21-cr-00237-RDM-1

                        Plaintiff,
                                                    UNOPPOSED MOTION TO MODIFY
         vs.                                        CONDITIONS OF RELEASE

 JONATHANPETER ALLEN KLEIN,

                        Defendant.

       Johnathanpeter Klein, through counsel, respectfully moves this Court for an order

modifying the conditions of release. When his conditions were last modified (August 31, 2022),

to allow him to move to different county (Baker County), the original travel restrictions remained

in effect. Unfortunately, the travel restriction condition originally imposed in May 2021, actually

limited Mr. Klein’s travel to the county of his prior residence (Umatilla County) as opposed to just

requiring approval from pretrial prior to travel.

       Through this motion, we request to expand Mr. Klein’s travel limitation to the District of

Oregon. Undersigned counsel conferred with the government, and through Assistant United States




Page 1 – UNOPPOSED MOTION TO MODIFY CONDITIONS OF RELEASE
         Case 1:21-cr-00237-RDM Document 135 Filed 10/26/22 Page 2 of 2




Attorney Christopher Veatch, it does not oppose this request. Pretrial services is aware of the

requests and remains neutral and defers to the Court.

       Mr. Klein currently lives in Baker City, Oregon. Mr. Klein has been on pretrial release

since May 19, 2021 and he has remained in compliance.

       In conclusion, Mr. Klein requests that the Court order that Mr. Klein’s travel be restricted

to the District of Oregon.

       RESPECTFULLY SUBMITTED this 26th day of October 2022.

                                             /s/ Michelle Sweet
                                             Michelle Sweet
                                             Attorney for Defendant




Page 2 – UNOPPOSED MOTION TO MODIFY CONDITIONS OF RELEASE
